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OF APPEALS

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DISTRICT OF TEXAS

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WORTH 

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2-06-248-CV

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MARK
LOGSDON D/B/A CHAMPION SWEEPING COMPANY&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPELLANT

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HISTORY
MAKER INC. AND HISTORY MAKER HOMES LLC&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPELLEES

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FROM COUNTY COURT AT LAW
NO. 1 OF TARRANT COUNTY

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM OPINION[1] AND JUDGMENT

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On September 6, 2006, we notified appellant that the trial court clerk
responsible for preparing the record in this appeal had informed the court that
arrangements had not been made to pay for the clerk=s record as required by Texas Rule of Appellate Procedure
35.3(a)(2).&nbsp; See TEX. R. APP. P. 35.3(a)(2).&nbsp; We stated we
would dismiss the appeal for want of prosecution unless appellant, within
fifteen days, made arrangements to pay for the clerk=s record and provided this court with proof of payment.&nbsp; 

Because appellant has not made payment arrangements for the clerk=s record, it is the opinion of the court that the appeal should be
dismissed for want of prosecution.&nbsp;&nbsp;
Accordingly, we dismiss the appeal.&nbsp;
See TEX. R. APP. P. 37.3(b), 42.3(b).

Appellant shall pay all costs of the appeal, for which let execution
issue.

&nbsp;

PER
CURIAM &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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PANEL D:&nbsp; GARDNER, WALKER, and MCCOY, JJ.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

DELIVERED:&nbsp; October 5, 2006

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[1]See Tex. R. App. P. 47.4.







